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United States Bankruptcy Court
District of Connecticut

In re:
Ho Wan Kwok Case Number: 22-50073
Chapter: 11
Debtor *
Rui Ma
Movant(s)
v.
Ho Wan Kwok
Respondent(s)

ORDER GRANTING RELIEF FROM AUTOMATIC STAY

Upon the Motion for Relief from Stay dated April 12, 2022 (the "Motion", ECF No. 206), filed by Rui
Ma (the "Movant"), after notice and a hearing, see 11 U.S.C. § 102(1), and in accordance with 11 U.S.C. §
362(d)(1) and in compliance with the Court's Contested Matter Procedure; it is hereby

ORDERED: The automatic stay provided in 11 U.S.C. § 362(a) is modified pursuant to 11 U.S.C. §
362(d)(1) to permit the Movant and/or their successors and assignees, to exercise their rights, if any, with
respect to litigation pending before the Supreme Court of the State of New York, New York County, Index No.
158140/2017, in accordance with applicable non-bankruptcy law; and it is further

ORDERED: The fourteen (14) day stay provided in Fed. R. Bankr. P. 4001(a)(3) is hereby waived.

BY THE COURT
Dated: May 27, 2022 fap.
y Julie A. Manning —
United States 2 mKruptcy Judge
Dist rite Connéct icut
United States Bankruptcy Court —_
District of Connecticut
915 Lafayette Boulevard

Bridgeport, CT 06604

*For the purposes of this order, "Debtor" means "Debtors" where applicable.
